ORIGINAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA SUPERSEDING INDICTMENT
- Ve. - S1 18 Cr. 567 (VSB)
CHRISTOPHER COLLINS, po cee eS
STEPHEN ZARSKY, I DOCUMENT
Defendants. I ELECTRONICALLY FILED |
(DOCH: —
mr poate riko: 94
COUNT ONE

(Conspiracy to Commit Securities Fraud)
The Grand Jury charges:

Relevant Entities and Individuals

 

1. At all times relevant to this Indictment, Innate
Immunotherapeutics Limited (“Innate”) was a biotechnology
company with its headquarters in Sydney, Australia and offices
in Auckland, New Zealand. Innate’s stock traded on the
Australian Securities Exchange (“ASX”) under the ticker “IIL,”
and on the United States over-the-counter (“OTC”) market under
the ticker “INNMF.”

2. Innaté’s primary business was the research and
development of a drug called MIS416, which was intended to treat

Secondary Progressive Multiple Sclerosis (“SPMS”). In or about

June 2017, Innate completed MIS416’s Phase 2B drug trial (the
“Drug Trial”), which was meant to determine the drug’s clinical
efficacy in treating SPMS. Because there were few or no
alternative treatments for SPMS, MIS416 had the potential to be
enormously profitable if the Drug Trial was successful. MIS416,
however, failed the Drug Trial. The public announcement of
these results caused the stock price of Innate to drop by 92%.

3. At all times relevant to this Indictment, CHRISTOPHER
COLLINS, the defendant, was a Congressman representing the 27th
District of New York. CHRISTOPHER COLLINS was also a member of
Innate’s Board of Directors and was one of Innate’s largest
shareholders, holding approximately 16.8% of its stock. In his
capacity as a member of Innate’s Board of Directors, Collins
regularly had access to material, nonpublic information,
including about MIS416 and the Drug Trial.

4. CAMERON COLLINS, the defendant, was the son of
CHRISTOPHER COLLINS, the defendant. At all times relevant to
this Indictment, CAMERON COLLINS was in a relationship with (and
subsequently became engaged to be married to) a co-conspirator
not named as a defendant herein (“Individual-1”"). At times
relevant to this Indictment, and as CHRISTOPHER COLLINS well
knew, CAMERON COLLINS was also a significant shareholder in
Innate, owning approximately 2.3% of its shares.

5. At all times relevant to this Indictment, STEPHEN

ZARSKY, the defendant, was the father of Individual-1. He was
also married to another co-conspirator not named as a defendant
herein (“Individual-2”) and was the brother of two individuals
(“Individual-3” and “Individual-4”). In addition, ZARSKY was
longstanding friends with a Florida-based financial advisor
(“Individual-5”).

6. At all times relevant to this Indictment, CAMERON
COLLINS, the defendant, and Individual-1 were friends with
another individual (“Individual-6”).

7. At times relevant to this Indictment, STEPHEN ZARSKY,
the defendant, Individual-1, Individual-2, Individual-3,
Individual-4, Individual-5, and Individual-6 all owned Innate
stock. JZARSKY, Individual-1, Individual-2, and Individual-6
each purchased Innate stock based in part on the recommendation
of CAMERON COLLINS, the defendant. Individual-3, Individual-4,
and Individual-5 purchased Innate stock based in part on the
recommendation of ZARSKY.

The Confidentiality Policy and Prohibition on Insider Trading

8. At all times relevant to this Indictment, Innate
maintained a corporate policy entitled, “Securities Trading
Policy.” This policy provided, in part, that

If a Designated Person possesses “inside information” in
relation to a company, the person must not:

(i) Deal in any securities of such company in any way;
nor
(ii) Directly or indirectly communicate the information,

or cause the information to be communicated, to another

person if the person knows, or ought reasonable to know,

that the other person would, or would be likely to, deal

in any securities of such company in any way or procure

a third person to deal in any securities of such company

in any way.

The Securities Trading Policy further defined the term
“Designated Person” to include “all directors, executives,
employees, contractors, consultants and advisors of the Company
and its subsidiaries.” The term “inside information” was
defined to include, in part, information that was “not generally
available” and that “a reasonable person would expect [] to have
a material effect on the price or value” of Innate’s stock.

9. At all times relevant to this Indictment, CHRISTOPHER
COLLINS, the defendant, was subject to the terms of Innate’s
Securities Trading Policy by virtue of his position as a member
of Innate’s Board of Directors.

Overview of the Insider Trading Scheme

10. In or about June 2017, CHRISTOPHER COLLINS, the
defendant, violated the duties he owed to Innate by passing
material, nonpublic information regarding the Drug Trial results
to his son, CAMERON COLLINS, the defendant, so that CAMERON
COLLINS could use that information to make timely trades in
Innate stock and to tip others. CAMERON COLLINS traded on the

inside information and passed it to STEPHEN ZARSKY, the

defendant, as well as to Individual-1, Individual-2, and
Individual-6, so that they could utilize the information for the
Same purpose. ZARSKY, in turn, traded on the information and
used it to tip Individual-3, Individual-4, and Individual-5, so
that they too could engage in timely trades in Innate stock.

All of these trades preceded the public release of the negative
Drug Trial results, and were timed to avoid losses that they
would have suffered once that news became public.

11. In total, these trades allowed CHRISTOPHER COLLINS,
CAMERON COLLINS, and STEPHEN ZARSKY, the defendants, and
Individual-1 through Individual-6, to avoid over $768,000 in
losses that they would have otherwise incurred if they had sold
their stock in Innate after the Drug Trial results became
public.

The Drug Trial Results

12. In or about October 2014, Innate initiated a Phase 2B
Clinical trial of its primary drug, MIS416. The Drug Trial was
“blinded,” meaning that neither the administrators of the Drug
Trial nor Innate’s leadership would know or be able to determine
the results of the Drug Trial until it was completed, after
which point data collected during the course of the Drug Trial
would be unblinded and analyzed. Successful completion of the
Drug Trial was a necessary prerequisite to the commercialization
of MI$416. Because Innate had no other significant products in

development, its stock price was tied to the success of MIS416.

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13. The Drug Trial was widely expected to be completed
around the Summer of 2017. On or about April 20, 2017, for
example, Innate issued a press release stating that “[a] final
report on the outcomes of the [Drug Trial] should be available
in late August or during September” of that year, but that
“[i]Jnmitial ‘topline’ data may become available prior to the
release of this report and if so, will be released to the market
at that time.” Further, on or about June 9, 2017, Innate’s
Chief Executive Officer (“CEO”) sent various individuals,
including CHRISTOPHER COLLINS, the defendant, an email stating
that “the delivery date for [the] review and ‘verdict’” of the
Drug Trial “will [] occur at COB on US Thursday June 22nd."

14. As the summer progressed, individuals within Innate
remained optimistic that the Drug Trial results would be
positive. As late as June 21, 2017, for example, Innate
announced in a press release that it had received clearance from
the U.S. Food and Drug Administration to open an Investigational
New Drug (“IND”) application (the “FDA Announcement”). The IND
process is an early step in securing approval for a drug in the
United States, and is intended to help ensure that subsequent
trials will be designed in a manner to pass FDA scrutiny.
Innate’s press release described this approval as “a further
important milestone in the ongoing clinical development of the

Company’s lead drug candidate MIS416.”

 
15. The initial Drug Trial results were made available by
trial administrators to Innate’s CEO on June 22, 2017. These
results established that MIS416 lacked therapeutic value in the
treatment of SPMS. The results were not publicly released at
that time.

16. On the night of June 22, 2017, which was the morning
of June 23, 2017 in Australia, Innate issued a press release
stating, in substance and in part, that Innate had requested
that the ASX halt trading in Innate’s stock on the ASX “as
[Innate] has received results from its Phase 2B trial of MIS416
in patients with secondary progressive multiple sclerosis.” The
press release further stated that Innate expected the hait to
end on June 27, 2017, at which point Innate would announce “the
results of the trial.”

17. The ASX issued a trading halt in Innate stock that
same day. That halt, however, affected only the Australian
market for Innate stock, not the U.S. OTC market. The trading
halt also did not signal the direction of the MIS416 trial
results. To the contrary, the ASX routinely halts trading at a
company’s request in situations in which the company has become
aware of material information, either positive or negative, but
is not yet ready to announce that information to the public.

18. On the night of Monday, June 26, 2017, after the U.S.

markets had closed, Innate issued a press release publicly
stating, in substance and in part, that MIS416 had failed its
Drug Trial (the “Public Announcement”). As explained in the
press release, MIS416 “did not show clinically meaningful or
Statistically significant differences in measures of
neuromuscular function or patient reported outcomes.”

19. Innate’s stock price crashed in response to the Public
Announcement. On the previous trading day, Monday, June 26,
2017, Innate’s stock had closed at approximately $0.455 per
share on U.S. OTC market. On or about Tuesday, June 27, 2017,
after the Public Announcement, Innate’s stock closed at
approximately $0.0351 per share, a drop of over 92% in value.

Dissemination of the Drug Trial Results

 

20. On or about June 22, 2017 at approximately 6:55 PM,
Innate’s CEO sent an email describing the Drug Trial results to
the company’s Board of Directors, including CHRISTOPHER COLLINS,
the defendant. The email explained to Innate’s Board of
Directors for the first time that the Drug Trial had been a
failure. The email began, in part, “I have bad news to report,”
and continued to explain that “the top line analysis of the
‘intent to treat’ patient population (ie every subject who was
successfully enrolled in the study) would pretty clearly
indicate[s] ‘clinical failure.’” The email continued, “Top-line
12-month data .. . show no clinically meaningful or

statistically significant differences in [outcomes] between
MIS416 and placebo,” and concluded by stating,

want to consider this extremely bad news ... .”

21.

“No doubt we will

At the time CHRISTOPHER COLLINS, the defendant,

received this email, he was attending the Congressional Picnic

at the White House.

the email,

stating,

in part,

these results even possible???”

22.

“Wow.

At 7:10 PM, CHRISTOPHER COLLINS

Makes no sense.

After responding to the Innate CEO’s email

approximately 7:10 PM, the following telephone calls

replied to

How are

at

occurred at

the following approximate times between CHRISTOPHER COLLINS and

CAMERON COLLINS,

the defendants:

 

 

 

 

 

 

 

 

 

 

 

 

 

TIME FROM TO DURATION
(Approx. ) (Approx. )
7:11:00 PM | Christopher Collins ; Cameron Collins 0:00
7:11:23 PM | Christopher Collins | Cameron Collins 0:05
7:14:16 PM | Cameron Collins Christopher Collins 0:05
7:14:51 PM | Cameron Collins Christopher Collins 0:05
7:15:27 PM | Cameron Collins Christopher Collins 0:05
7:15:50 PM | Christopher Collins | Cameron Collins 0:07
7:16:19 PM | Christopher Collins |} Cameron Collins 6:08
23. The first six calls were “missed,” meaning that the

recipient of the call did not answer.
call at 7:16:19 PM, however,
spoke to CAMERON COLLINS,

and substance,

CHRISTOPHER COLLINS,

the defendant,

that MIS416 had failed the Drug Trial.

and told hin,

During the 6:08 minute

the defendant,

in sum

 
CHRISTOPHER COLLINS conveyed this material, nonpublic
information to CAMERON COLLINS knowing that it was in breach of
his duties to Innate and anticipating that CAMERON COLLINS would
use it to trade and tip others.

24. CHRISTOPHER COLLINS, the defendant, did not trade
himself, and his Innate stock ultimately declined by millions of
dollars in value when the Drug Trial results were made public on
June 26, 2017. As CHRISTOPHER COLLINS well knew, however, he
was virtually precluded from trading his own shares. CHRISTOPHER
COLLINS’ Innate shares were held in Australia and thus subject
to the Australian trading halt. Unlike his son’s shares,
CHRISTOPHER COLLINS’ shares were not held at a U.S. broker where
they could be traded in the domestic OTC market. Accordingly,
he did not trade his own stock and instead tipped CAMERON
COLLINS, the defendant.

Trading by CAMERON COLLINS

25. The U.S. OTC market was closed when CAMERON COLLINS,
the defendant, learned the negative Drug Trial results from
CHRISTOPHER COLLINS, the defendant, on or about the night of
June 22, 2017. The following morning, at approximately 7:42 AM,
CAMERON COLLINS placed an online order with his brokerage firm
to sell approximately 16,508 shares of Innate on the U.S. OTC
market. This order was executed at approximately 9:30 AM, when

the U.S. OTC market opened.

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26. Later that day, CAMERON COLLINS, the defendant, placed
approximately 17 additional orders to sell Innate stock. On or
about June 26, 2017, the following Monday, CAMERON COLLINS
placed approximately 36 additional orders to sell Innate stock.
Many of the orders that CAMERON COLLINS placed on June 23, 2017,
and June 26, 2017, moreover, occurred after additional
discussion with CHRISTOPHER COLLINS, the defendant. For
example, on Friday, June 23, 2017, at approximately 3:12 PM,
CAMERON COLLINS placed a 5:05 minute call to CHRISTOPHER
COLLINS. While the two were still on the phone, CAMERON COLLINS
placed an online order with his broker to sell approximately
50,000 shares of Innate.

27. In total, CAMERON COLLINS, the defendant, sold
approximately 1,391,500 shares of Innate stock between the
morning of June 23, 2017, and the close of the market on June
26, 2017, when Innate publicly released the Drug Trial results.
These sales allowed CAMERON COLLINS to avoid approximately
$570,900 in losses.

Trading by Direct Tippees of CAMERON COLLINS

28. After learning the results from CHRISTOPHER COLLINS,
the defendant, on or about the night of June 22, 2017, CAMERON
COLLINS, the defendant, provided the Drug Trial results to at
least the following three sets of individuals so that they could

trade in advance of the Public Announcement: {1) his fiancée,

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Individual-1; (2) STEPHEN ZARSKY, the defendant, and ZARSKY’s
wife, Individual-2; and (3) his friend, Individual-6. These
individuals are discussed below.

Sales by Individual-1

 

29. On or about June 19, 2017 and June 20, 2017,
Individual-i purchased approximately 40,464 shares of Innate
stock. These purchases preceded the seemingly positive FDA
Announcement by just days and were the first purchases of Innate
stock in Individual-1’'s brokerage account. Nonetheless, on or
about 9:37 AM on June 23, 2017, shortly after the U.S. OTC
market opened, Individual-1 caused an order to be placed with
Individual-1’s brokerage firm to sell all of Individual-i’s
approximately 40,464 Innate shares. These sales allowed
Individual-1 to avoid losses of approximately $19,440.

Sales by STEPHEN ZARSKY and Individual-2

 

30. On or about the night of June 22, 2017, after CAMERON
COLLINS, the defendant, received the negative Drug Trial results
from CHRISTOPHER COLLINS, the defendant, CAMERON COLLINS and
Individual-1 drove to the home of STEPHEN ZARSKY, the defendant,
and Individual-2 (the “Zarsky Residence”). CAMERON COLLINS and
Individual-1 arrived at the Zarsky Residence at approximately
9:17 PM, when Individual-1 sent a text message to Individual-2
Stating, in part, “We're here.” Once at the Zarsky Residence,

CAMERON COLLINS told ZARSKY and Individual-2 the following, in

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substance and in part: that MIS416 had failed the Drug Trial;
that he intended to sell his own Innate shares; and that he
would allow ZARSKY and Individual-2 to sell their Innate shares
first so as to avoid depressing Innate’s stock price with his
own sales beforehand.

31. At approximately 9:34 PM on the night of June 22,
2017, while CAMERON COLLINS, the defendant, and Individual-1
were still at the Zarsky Residence, Individual-2 called her
brokerage firm and asked, in substance and in part, to sell all
of her Innate shares. A representative from the brokerage firm
then walked Individual-2 through the process of placing an order
to sell her Innate stock online. Individual-2 subsequently
entered an order online to sell her shares. As a result of this
order, approximately 30,250 of Individual-2’s total holdings of
50,000 shares of Innate stock were sold on the ASX before
trading of Innate was halted on the ASX later that night.
Individual-2 sold the remainder of her shares on the U.S. OTC
market the following morning, avoiding a total of approximately
$22,600 in losses.

32. At approximately 7:52 AM on the morning of June 23,
2017, STEPHEN ZARSKY, the defendant, placed an online order with
his brokerage firm to sell all 303,005 of his Innate shares at a
limit price of $0.41 per share, well below the prior day’s

closing price of approximately $0.52 per share. This order was

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executed when the U.S. OTC market opened at approximately 9:30
AM, and the order was filled at $0.51 per share, allowing ZARSKY
to avoid approximately $143,900 in losses.

Sales by Individual-6

 

33. On or about 9:01 AM on June 26, 2017, CAMERON COLLINS,
the defendant, placed a call to Individual-6, which Individual-6
did not answer. Individual-6 then sent CAMERON COLLINS a text
message at 9:02 AM stating, “Sorry, on a conference call right
now. Doing a little phone tag - what’s going on?” CAMERON
COLLINS responded, “Give me a call when you get a free minute.”
At approximately 9:14 AM, Individual-6 called CAMERON COLLINS,
and the two had a 51 second conversation. During this
conversation, CAMERON COLLINS told Individual-6, in substance
and in part, that MIS416 had failed the Drug Trial, and that
Individual-6 should consider selling Individual-6’s Innate
shares (which Individual-6 had purchased at an earlier date
based in part on CAMERON COLLINS’s recommendation).

34. Individual-6 subsequently sold all of his Innate
shares prior to the Public Announcement, thereby avoiding

approximately $680 in losses.

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Trading by Direct Tippees of STEPHEN ZARSKY

35. On or about the morning of June 23, 2017, STEPHEN
ZARSKY, the defendant, provided the negative Drug Trial results
that he had learned from CAMERON COLLINS, the defendant, and
Individual-1 to at least the following individuals, among
others, or otherwise caused them to trade or attempt to trade in
advance of the Public Announcement: (1) his brother, Individual-
3; (2) his sister, Individual-4; and (3) his longstanding
friend, Individual-5. These individuals are discussed below.

Trading by Individual-3

 

36. At approximately 9:36 AM on June 23, 2017, minutes
after he had finished selling his own shares, STEPHEN ZARSKY,
the defendant, called Individual-3. Individual-3 did not answer
but returned ZARSKY’s call at approximately 9:40 AM. During
this call, ZARSKY told Individual-3, in substance and in part,
to sell Individual-3’'s Innate shares.

37. Correctly concluding that STEPHEN ZARSKY, the
defendant, had inside information that he had received from the
Collins family, Individual-3 did not ask questions. At
approximately 9:43 AM on June 23, 2017--roughly one minute after
Individual-3’s call with ZARSKY--Individual-3 sold all of his

Innate shares, avoiding losses of approximately $4,200.

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Attempted Trading by Individual-4

 

38. At approximately 7:37 AM and 7:44 AM on the morning of
June 23, 2017, STEPHEN ZARSKY, the defendant, sent text messages
to Individual-4 stating, in part “Call me asap!” and “Call me
immediately.” ZARSKY and Individual-4 subsequently spoke by
telephone at approximately 9:47 AM. During this and later
calls, ZARSKY told Individual-4, in substance and in part, that
Individual-4 needed to sell her Innate shares and not to ask
why. Individual-4 attempted to sell her Innate shares after
receiving ZARSKY's call, but Individual-4’s broker was unable to
execute Individual-4’s order.

39. STEPHEN ZARSKY, the defendant, and Individual-1
subsequently expressed confusion as to why Individual-4 had not
traded. For example, the following text-message exchange

occurred on or about June 27, 2017:

ZARSKY:  [Individual-4 and Individual-4’s
spouse] didn’t get out but they are not
complaining

Individual-1: Strange that they didn’t
Individual-1: Such is life

ZARSKY: Told them when I told [Individual-3]
Individual-1: Yep

ZARSKY ; [Individual-3] got out

Individual-1: That’s that

ZARSKY : Yes

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ZARSKY, moreover, had a similar text-message exchange with
Individual-3 on or about the same date:

ZARSKY: [Individual-4 and Individual-4’s
spouse] never got out even though I
told them both right after I spoke with
you - -

Individual-3: They have a broker they couldn’t
do it right away it was Friday and they
couldn’t get the guy to do it

ZARSKY: [Individual-4] doesn’t want to talk
about it or hear any numbers again

Individual-3: I was able to enter the trade
myself right away

Trading by Individual-5

 

40. At approximately 10:01 AM on June 23, 2017--
approximately 30 minutes after his own sell order had been
executed--STEPHEN ZARSKY, the defendant, called and spoke with
Individual-5. During this call, ZARSKY told Individual-5, in
substance and in part, that CAMERON COLLINS, the defendant, had
told ZARSKY that MIS416 had failed the Drug Trial. Minutes
later, Individual-5 sold all of his shares of Innate, avoiding
losses of approximately $6,700.

41. STEPHEN ZARSKY also told Individual-5, in substance
and in part, that CAMERON COLLINS intended to purchase a house
so that CAMERON COLLINS would have an ostensible excuse for the
timing of his own trades in Innate if he were ever asked about

them.

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Statutory Allegations

 

42. In or about June 2017, in the Southern District of New
York and elsewhere, CHRISTOPHER COLLINS, CAMERON COLLINS, and
STEPHEN ZARSKY, the defendants, and others known and unknown,
willfully and knowingly did combine, conspire, confederate, and
agree together and with each other to commit an offense against
the United States, to wit, securities fraud, in violation of
Title 15, United States Code, Sections 78j](b) and 78ff, and
Title 17, Code of Federal Regulations, Section 240.10b-5.

43. It was a part and object of the conspiracy that
CHRISTOPHER COLLINS, CAMERON COLLINS, and STEPHEN ZARSKY, the
defendants, and others known and unknown, willfully and
knowingly, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, and of the mails, and
the facilities of national securities exchanges, would and did
use and employ manipulative and deceptive devices and
contrivances in connection with the purchase and sale of
securities, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by: (a) employing devices,
schemes, and artifices to defraud; (b) making untrue statements
of material fact and omitting to state material facts necessary
in order to make the statements made, in the light of the
circumstances under which they were made, not misleading; and

(c) engaging in acts, practices, and courses of business which

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operated and would operate as a fraud and deceit upon persons,
in violation of Title 15, United States Code, Sections 78j(b)
and 78ff.
Overt Acts

44, In furtherance of the conspiracy and to effect its
illegal object, CHRISTOPHER COLLINS, CAMERON COLLINS, and
STEPHEN ZARSKY, the defendants, and others known and unknown,
committed the following overt acts, among others, in the
Southern District of New York and elsewhere:

a. On or about June 22, 2017, CHRISTOPHER COLLINS
told CAMERON COLLINS, in substance and in part, that MIS416 had
failed its Drug Trial so that CAMERON COLLINS could sell his
Innate shares before the Public Announcement and tip others.

b. On or about June 22, 2017, CAMERON COLLINS told
Individual-1, in substance and in part, that MIS416 had failed
the Drug Trial so that Individual-~1 could sell Individual-1’s
shares before the Public Announcement.

Cc. On or about June 23, 2017 and June 26, 2017,
CAMERON COLLINS sold approximately 1,391,500 shares of Innate
stock based in part on material, nonpublic information he had
received from CHRISTOPHER COLLINS.

d. On or about June 23, 2017, STEPHEN ZARSKY sold

approximately 303,500 shares of Innate stock based in part on

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material, nonpublic information he had received from CAMERON
COLLINS.
(Title 18, United States Code, Section 371.)

COUNTS TWO THROUGH EIGHT
(Securities Fraud)

45. The allegations contained in paragraphs 1 through 40 and
44 of this Indictment are hereby repeated, realleged, and
incorporated by reference, as if fully set forth herein.

46. On or about the dates set forth below, in the Southern
District of New York and elsewhere, CHRISTOPHER COLLINS, CAMERON
COLLINS, and STEPHEN ZARSKY, the defendants, willfully and
knowingly, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, and of the mails, and
the facilities of national securities exchanges, used and
employed manipulative and deceptive devices and contrivances in
connection with the purchase and sale of securities, in
violation of Title 17, Code of Federal Regulations, Section
240.10b-5, by: (a) employing devices, schemes, and artifices to
defraud; (b) making untrue statements of material fact and
omitting to state material facts necessary in order to make the
statements made, in the light of the circumstances under which
they were made, not misleading; and (c) engaging in acts,
practices, and courses of business which operated and would

operate as a fraud and deceit upon persons, to wit, CHRISTOPHER

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COLLINS provided material, nonpublic information to CAMERON
COLLINS in violation of his duties of trust and confidence, and
CAMERON COLLINS and ZARSKY used material, nonpublic information
aware of this breach of duty to execute and cause others to
execute the securities transactions listed below on or about the

dates listed below:

 

 

 

 

 

 

 

 

Count Defendants Order Transaction
Dates
2 CHRISTOPHER COLLINS; | June 23- Sale of 1,391,500
CAMERON COLLINS 26, 2017 shares of Innate held
by Cameron Collins
3 CHRISTOPHER COLLINS; | June 23, Sale of 303,500 shares
CAMERON COLLINS; 2017 of Innate held by
STEPHEN ZARSKY Stephen Zarsky
4 CHRISTOPHER COLLINS; | June 23, Sale of 40,464 shares
CAMERON COLLINS 2017 of Innate held by
Individual-1
5 CHRISTOPHER COLLINS; | June 22- Sale of 19,750 shares
CAMERON COLLINS; 23, 2017 of Innate held by
STEPHEN ZARSKY Individual-2
6 STEPHEN ZARSKY June 23, Sale of 4,500 shares
2017 of Innate held by
Individual -3
7 STEPHEN ZARSKY June 23, Sale of 14,800 shares
2017 of Innate held by
Individual-5
8 CAMERON COLLINS June 25- Sale of 1,600 shares
26, 2017 of Innate held by
Individual -6

 

 

 

 

 

 

(Title 15, United States Code, Sections 78j(b) & 78ff;
Title 17, Code of Federal Regulations, Section 240.10b-5; and
Title 18, United States Code, Section 2.)

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COUNT NINE
(Conspiracy to Commit Wire Fraud)

The Grand Jury further charges:

47. The allegations contained in paragraphs 1 through 40 and
44 of this Indictment are hereby repeated, realleged, and
incorporated by reference, as if fully set forth herein.

48. In or about June 2017, in the Southern District of New
York and elsewhere, CHRISTOPHER COLLINS, CAMERON COLLINS, and
STEPHEN ZARSKY, the defendants, and others known and unknown,
willfully and knowingly combined, conspired, confederated, and
agreed together and with each other to commit wire fraud, in
violation of Title 18, United States Code, Section 1343.

49. It was a part and an object of the conspiracy that
CHRISTOPHER COLLINS, CAMERON COLLINS, and STEPHEN ZARSKY, the
defendants, and others known and unknown, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and
promises, would and did transmit and cause to be transmitted by
means of wire, radio, and television communication in interstate
and foreign commerce writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, in
violation of Title 18, United States Code, Section 1343.

(Title 18, United States Code, Section 1349.)

22
COUNT TEN
(Wire Fraud)

The Grand Jury further charges:

50. The allegations contained in paragraphs 1 through 40
and 44 of this Indictment are hereby repeated, realleged, and
incorporated by reference, as if fully set forth herein.

51. In or about June 2017, in the Southern District of New
York and elsewhere, CHRISTOPHER COLLINS, CAMERON COLLINS, and
STEPHEN ZARSKY, the defendants, willfully and knowingly, having
devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises,
transmitted and caused to be transmitted by means of wire,
radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the
purpose of executing such scheme and artifice, to wit,
CHRISTOPHER COLLINS, CAMERON COLLINS, ZARSKY and others schemed
to defraud Innate of confidential information regarding the Drug
Trial results for the purpose of executing securities
transactions in Innate stock.

(Title 18, United States Code, Sections 1343 and 2.)

23
COUNT ELEVEN
(False Statements - Christopher Collins)

The Grand Jury further charges:

52. The allegations contained in paragraphs 1 through 40 and
44 of this Indictment are hereby repeated, realleged, and
incorporated by reference, as if fully set forth herein.

53. On or about April 25, 2018, CHRISTOPHER COLLINS, the
defendant, was interviewed by a Special Agent from the Federal
Bureau of Investigation. During this interview, CHRISTOPHER
COLLINS stated, in substance and in part, that he did not tell
CAMERON COLLINS, the defendant, the Drug Trial results before
the Public Announcement.

54. The statement referenced in paragraph 53 was false, as
CHRISTOPHER COLLINS, the defendant, well knew.

Statutory Allegation

55. On or about April 25, 2018, in the Southern District
of New York and elsewhere, CHRISTOPHER COLLINS, the defendant,
willfully and knowingly did make materially false, fictitious,
and fraudulent statements and representations in a matter within
the jurisdiction of the executive branch of the Government of
the United States, to wit, CHRISTOPHER COLLINS made the above
materially false statement during a meeting with a Special Agent
from the Federal Bureau of Investigation.

(Title 18, United States Code, Sections 1001 and 2.)

24
COUNT TWELVE
(False Statements - Cameron Collins)

The Grand Jury further charges:

56. The allegations contained in paragraphs 1 through 40 and
44 of this Indictment are hereby repeated, realleged, and
incorporated by reference, as if fully set forth herein..

57. On or about April 25, 2018, CAMERON COLLINS, the
defendant, was interviewed by a Special Agent from the Federal
Bureau of Investigation. During this interview, CAMERON COLLINS
stated, in substance and in part:

a. That he had no discussions with CHRISTOPHER
COLLINS, the defendant, about the Drug Trial results until after
CAMERON COLLINS sold his shares; and

b. That he was not sure if STEPHEN ZARSKY, the
defendant, or Individual-2 had bought Innate shares, but thought
they might have.

58. The statements referenced above in paragraph 57 were
false, as CAMERON COLLINS, the defendant, well knew.

Statutory Allegation

59. On or about April 25, 2018, in the Southern District
of New York and elsewhere, CAMERON COLLINS, the defendant,
willfully and knowingly did make materially false, fictitious,
and fraudulent statements and representations in a matter within

the jurisdiction of the executive branch of the Government of

25
the United States, to wit, CAMERON COLLINS made the above
materially false statements during a meeting with a Special
Agent from the Federal Bureau of Investigation.

(Title 18, United States Code, Sections 1001 and 2.)

COUNT THIRTEEN
(False Statements - Stephen Zarsky)

The Grand Jury further charges:

60. The allegations contained in paragraphs 1 through 40 and
44 of this Indictment are hereby repeated, realleged, and
incorporated by reference, as if fully set forth herein.

61. On or about April 25, 2018, STEPHEN ZARSKY, the
defendant, was interviewed by a Special Agent from the Federal
Bureau of Investigation. During this interview, ZARSKY stated,
in substance and in part:

a. That ZARSKY sold his Innate stock solely because
of his concern that Innate was too risky of an investment;

b. That ZARSKY’s investment in Innate had been
recommended to him by a friend from Connecticut;

Cc. That ZARSKY did not know whether CAMERON COLLINS,
the defendant, or Individual-1 sold any shares of Innate; and

d. That ZARSKY did not know the Drug Trial results
before he sold his Innate shares, and did not discuss the Drug
Trial results with CAMERON COLLINS or Individual-1 when they

visited him on or about June 22, 2017.

26
62. The statements referenced above in paragraph 61 were

false, as STEPHEN ZARSKY, the defendant, well knew.
Statutory Allegation

63. On or about April 25, 2018, in the Southern District
of New York and elsewhere, STEPHEN ZARSKY, the defendant,
willfully and knowingly did make materially false, fictitious,
and fraudulent statements and representations in a matter within
the jurisdiction of the executive branch of the Government of
the United States, to wit, ZARSKY made the materially false
statements above during a meeting with a Special Agent from the
Federal Bureau of Investigation.

(Title 18, United States Code, Sections 1001 and 2.)

FORFEITURE ALLEGATION

 

64. As a result of committing one or more of the
offenses alleged in Counts One through Ten of this Indictment,
CHRISTOPHER COLLINS, CAMERON COLLINS, and STEPHEN ZARSKY, the
defendants, shall forfeit to the United States pursuant to Title
18, United States Code, Section 981(a)(1)(C) and Title 28, United
States Code, Section 2461(c), all property, real and personal,
that constitutes or is derived from proceeds traceable to the
commission of said offenses, including but not limited to a sum of
money in United States currency representing the amount of proceeds

traceable to the commission of said offenses.

27
65.

as a result of

a.

Substitute Assets Provision
If any of the above-described forfeitable property,
any act or omission of the defendants:
cannot be located upon the exercise of due
diligence;
has been transferred or sold to, or deposited with,
a third party;
has been placed beyond the jurisdiction of the
court;
has been substantially diminished in value; or
has been commingled with other property which

cannot be divided without difficulty,

it is the intent of the United States, pursuant to Title 21, United

States Code,

Section 2461(c

Section 853(p) and Title 28, United States Code,

to seek forfeiture of any other property of the

defendants up to the value of the forfeitable property described

above.

(Title 18, United States Code, Section 981; Title 21, United

States Code,

Section 853; and Title 28, United States Code,
Section 2461.)

FOREPERSON

GEOFFREY s.' BERMAN
United States RMBN ae
Southern District of New York

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
- Vv. -
CHRISTOPHER COLLINS,
CAMERON COLLINS, and
STEPHEN ZARSKY,

Defendants.

 

SUPERSEDING INDICTMENT

 

S118 Cr.328 (VSB)

(Title 15, United States Code,
Sections 78j)(b) & 78f£f; Title 17,
Code of Federal Regulations, Section
240.10b-5; and Title 18, United States
Code, Sections 371, 1001, 1343, 1349, &
2.)

GEOFFREY S. BERMAN
United States Attorney.

 

A TRUE BILL

Foreperson.

 

 

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